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                                   EXHIBIT LIST            page ____1______

Case # 2:16-cv-00344-RFB-PAL
Caption: GEORGINA FORD, individually and as Special Administrator of the Estate of
Murray D. Ford v. Nationstar Mortgage, LLC

Exhibits for: GEORGINA FORD, individually and as Special Administrator of the Estate
of Murray D. Ford

  Date       Date       number         Witness                   Description
 Marked     Admitted

                        1                             2015 09 28 Nationstar Payoff
                                                      Statement




                        2                             2009 11 15 Notice of BK Filing




                        3                             2013 03 22 BK Discharge




                        4A                            April 10 2015 Email thread 1
   Case 2:16-cv-00344-RFB-PAL Document 96 Filed 05/24/18 Page 2 of 6
                             EXHIBIT LIST          page ____2______



 Date     Date      number      Witness                  Description
Marked   Admitted

                    4B                        April 10 2015 Email thread 2




                    5A                        2015 Jan-April Payment




                    5B                        2015 May Payment




                    5C                        2015 June Payment




                    5D                        2015 July Payment
   Case 2:16-cv-00344-RFB-PAL Document 96 Filed 05/24/18 Page 3 of 6
                             EXHIBIT LIST          page ____3______



 Date     Date      number      Witness                  Description
Marked   Admitted

                    5E                        2015 August Payment




                    6                         2015 Sept Payment




                    7                         2015 09 26 Notice of Error




                    8                         2015 09 30 Notice of Error




                    9                         2010 04 19 Bank of America Loan
                                              Modification
   Case 2:16-cv-00344-RFB-PAL Document 96 Filed 05/24/18 Page 4 of 6
                             EXHIBIT LIST          page ____4______



 Date     Date      number      Witness                  Description
Marked   Admitted

                    10                        2013 06 10 Servicing Transfer
                                              Notice




                    11                        2017 10 04 Nationstar Mortgage
                                              LLC 10Q Certified SEC Docs




                    12                        2016 04 22 Signed Settlement
                                              Agreement




                    13                        2015 10 06 Collection Letter
                                              Alleging Default Threatening
                                              Foreclosure




                    14                        2004 08 10 NOTE
   Case 2:16-cv-00344-RFB-PAL Document 96 Filed 05/24/18 Page 5 of 6
                             EXHIBIT LIST          page ____5______



 Date     Date      number      Witness                  Description
Marked   Admitted

                    15                        California Consent Order




                    16                        NY Consent Order




                    17                        2015 07 07 Letter to Nationstar CEO




                    18                        2015 09 29 Response to Notice of
                                              Error 1




                    19                        2015 09 29 Escrow Account
                                              Disclosure Statement
   Case 2:16-cv-00344-RFB-PAL Document 96 Filed 05/24/18 Page 6 of 6
                             EXHIBIT LIST          page ____6______



 Date     Date      number      Witness                  Description
Marked   Admitted

                    20                        2015 11 17 Response to Notice of
                                              Error 2




                    21                        Nationstar 10K 2017




                    22                        2016 03 01 Servicing Notes




                    23                        2015 12 21 Notice of Error




                    24                        2016 02 25 Nationstar Response to
                                              Notice of Error 3
